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                     EXHIBIT 4
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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF FLORIDA
                             TALLAHASSEE DIVISION

    FLORIDA DECIDES HEALTHCARE,
    INC., et al.,
                          Plaintiffs,

           v.                                         No. 4:25-cv-211-MW-MAF

    CORD BYRD, in his official capacity as
    Florida Secretary of State, et al.,
                                        Defendants,

    REPUBLICAN PARTY OF FLORIDA,
              Proposed Intervenor-Defendant.

            [PROPOSED] ANSWER TO INTERVENOR-PLAINTIFF
          LEAGUE OF WOMEN VOTERS OF FLORIDA’S COMPLAINT
                BY THE REPUBLICAN PARTY OF FLORIDA

          Intervenor Defendant the Republican Party of Florida (“RPOF”) now answers

Intervenor-Plaintiffs League of Women Voters of Florida, League of Women Voters

of Florida Education Fund, Inc. (together, “LWVFL” or the “League”), League of

United Latin American Citizens (“LULAC”), Cecile Scoon, and Debra Chandler’s

(collectively, “Intervenor-Plaintiffs”) Complaint (ECF No. 90). Unless expressly

admitted below, every allegation of the Complaint is denied. Accordingly, RPOF states:

                                      INTRODUCTION1


1
  Throughout their Complaint Intervenor-Plaintiffs include a number of headings that
make unproven and untrue factual allegations. To the extent Intervenor-Plaintiffs
intend any of its headings to serve as substantive allegations that require a response,
they are denied. RPOF includes the headings herein solely for ease of reference in this
Answer.
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       1.      Admit that the Florida Constitution speaks for itself. Otherwise denied.

       2.      Admit that the Florida Division of Elections’ records regarding vote totals

of constitutional amendments on the ballot and their passage or failure rates speak for

themselves. Otherwise denied.

       3.      Denied.

       4.      Denied.

       5.      The cited cases speak for themselves. Otherwise, the remaining allegations

are legal conclusions to which no response is required.

       6.      Denied.

       7.      Denied.

       8.      Some allegations in this paragraph are legal conclusions to which no

response is required. Admit that HB 12052 speaks for itself. Otherwise denied.

       9.      The allegations in this paragraph are legal conclusions to which no

response is required.

       10.     Denied that Intervenor-Plaintiffs’ claims have merit or that Intervenor-

Plaintiffs are entitled to relief.

                             JURISDICTION AND VENUE

       11.     Admit that Intervenor-Plaintiffs have filed this action pursuant to 28



2
  Although the Complaint refers throughout to “HB 1205,” Proposed Intervenor-
Defendants interpret this to mean the final version of the bill that passed and was signed
into law, which was Committee Substitute for House Bill 1205 or “CS/HB 1205.”
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U.S.C. §§ 1331, 1343, 2201, and 2202 but denied that Intervenor-Plaintiffs have any

valid claim under these laws. Otherwise denied.

      12.    Without knowledge and therefore denied.

      13.    Admit that Intervenor-Plaintiffs have filed this action pursuant to 28

U.S.C. §§ 2201 and 2202 but denied that Intervenor-Plaintiffs have any valid claim

under these laws. Denied that Federal Rules of Civil Procedure 57 and 65 provide this

Court with jurisdiction to hear this case.

                                       PARTIES

Plaintiffs

      14.    Without knowledge and therefore denied.

      15.    Without knowledge and therefore denied.

      16.    Without knowledge and therefore denied.

      17.    Without knowledge as to LWVFL’s operations and “reputation and

influence” and therefore denied. Otherwise denied.

      18.    Without knowledge and therefore denied.

      19.    Without knowledge as to LULAC’s operations, actions, and personnel and

therefore denied. Otherwise denied.

      20.    Without knowledge and therefore denied.

      21.    Without knowledge and therefore denied.

Defendants

      22.    Admit that Cord Byrd is the Secretary of State for Florida and that the
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cited statutes speak for themselves. Otherwise denied.

      23.    Admit that James Uthmeier is the Attorney General for Florida and that

his official responsibilities are set forth in Florida’s Constitution and Florida Statutes,

which speak for themselves. Otherwise denied.

      24.    Admit that the cited statutes relating to the Defendant Supervisors of

Elections speak for themselves. Otherwise denied.

      25.    Admit that the Florida Constitution and cited statute relating to the

Defendant State Attorneys speak for themselves. Otherwise denied.

                            FACTUAL ALLEGATIONS

 I.   BACKGROUND ON FLORIDA’S BALLOT INITIATIVE PROCESS

      26.    Admit that the Florida Constitution speaks for itself. Otherwise denied.

      27.    Admit that the Florida Constitution speaks for itself. Otherwise denied.

      28.    Admit that the Florida Constitution speaks for itself. Otherwise denied.

      29.    Admit that Florida law speaks for itself.

      30.    Denied.

      31.    Admit that Florida Statutes (1977) speak for themselves. Otherwise

denied.

      32.    Admit that Florida Statutes (1997) speak for themselves. Otherwise

denied.

      33.    Admit that Florida Statutes (2002) speak for themselves. Otherwise

denied.
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         34.   Admit that Florida Statutes (2011) speak for themselves. Otherwise

denied.

         35.   Admit that Florida Statutes (2019) speak for themselves. Otherwise

denied.

         36.   Admit that Florida Statutes (2020) speak for themselves. Otherwise

denied.

         37.   Admit that Florida Statutes, the Department of State’s administrative

regulations, and the Division of Election’s Advisory Opinions speak for themselves.

Otherwise denied.

         38.   Denied.

         39.   Denied.

II.      THE CHALLENGED PROVISIONS OF THE LAW

         40.   Denied.

      A. Petition Circulator Definition and Eligibility

         41.   Admit that HB 1205 speaks for itself. Otherwise denied.

         42.   Admit that Florida Statutes (2024) speak for themselves. Otherwise

denied.

         43.   Admit that HB 1205 speaks for itself. Otherwise denied.

         44.   Admit that HB 1205 speaks for itself. Otherwise denied.

         45.   Admit that HB 1205 speaks for itself. Otherwise denied.

         46.   Admit that HB 1205 speaks for itself. Otherwise denied.
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      47.    Admit that HB 1205 speaks for itself. Otherwise denied.

      48.    Admit that HB 1205 speaks for itself. Otherwise denied.

      49.    Admit that HB 1205 speaks for itself. Otherwise denied.

   B. Petition Circulator Disclosure and Oath and Registration Requirements

      50.    Admit that HB 1205 speaks for itself. Otherwise denied.

      51.    Admit that HB 1205 speaks for itself. Otherwise denied.

      52.    Admit that HB 1205 speaks for itself. Otherwise denied.

      53.    Admit that HB 1205 speaks for itself. Otherwise denied.

      54.    Denied.

   C. The 10-day Return Deadline

      55.    Admit that the cited statute speaks for itself. Otherwise denied.

      56.    Admit that HB 1205 speaks for itself. Otherwise denied.

      57.    Admit that HB 1205 speaks for itself. Otherwise denied.

      58.    Without knowledge as to the League’s procedures and therefore denied.

Otherwise denied.

      59.    Admit that HB 1205 speaks for itself. Without knowledge as to the

likelihood that the League is to submit incomplete petition forms. Otherwise denied.

      60.    Without knowledge and therefore denied.

   D. Vague and Draconian Criminal Penalties

      61.    Denied.

      62.    Admit that HB 1205 speaks for itself. Otherwise denied.
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          63.   Admit that HB 1205 speaks for itself. Otherwise denied.

          64.   Admit that HB 1205 speaks for itself. Otherwise denied.

          65.   Some allegations in this paragraph are legal conclusions to which no

response is required. Admit that HB 1205 speaks for itself. Otherwise denied.

          66.   Some allegations in this paragraph are legal conclusions to which no

response is required. Admit that HB 1205 speaks for itself. Otherwise denied.

          67.   Some allegations in this paragraph are legal conclusions to which no

response is required. Admit that HB 1205 speaks for itself. Otherwise denied.

          68.   Some allegations in this paragraph are legal conclusions to which no

response is required. Admit that HB 1205 speaks for itself. Otherwise denied.

          69.   Some allegations in this paragraph are legal conclusions to which no

response is required. Admit that HB 1205 and Florida Statutes speak for themselves.

Otherwise denied.

       E. Office of Election Crimes and Security Investigations

          70.   Admit that HB 1205 speaks for itself. Otherwise denied.

          71.   Admit that HB 1205 speaks for itself. Otherwise denied.

          72.   Admit that HB 1205 speaks for itself. Otherwise denied.

III.      THE IMPACT OF THE CHALLENGED PROVISIONS ON
          PLAINTIFFS

       A. Plaintiff LWVFL

          73.   Without knowledge and therefore denied.

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      74.    Without knowledge and therefore denied.

      75.    Without knowledge and therefore denied.

      76.    Without knowledge and therefore denied.

      77.    Without knowledge and therefore denied.

      78.    Admit that HB 1205 and Florida Statutes (2024) speak for themselves.

Otherwise denied.

      79.    Without knowledge and therefore denied.

      80.    Without knowledge and therefore denied.

      81.    Without knowledge and therefore denied.

      82.    Without knowledge and therefore denied.

      83.    Without knowledge as to the League’s operations and therefore denied.

Otherwise denied.

      84.    Some allegations in this paragraph are legal conclusions to which no

response is required. Admit that HB 1205 speaks for itself. Otherwise denied.

      85.    Admit that HB 1205 speaks for itself. Without knowledge as to the

League’s members and operations and therefore denied. Otherwise denied.

      86.    Admit that HB 1205 speaks for itself. Otherwise denied.

      87.    Admit that HB 1205 speaks for itself. Without knowledge as to

unidentified individuals’ beliefs and the likelihood of League volunteers participating in

the citizen petition process and therefore denied. Otherwise denied.

      88.    Without knowledge as to the League’s business, personnel, and financial
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operations and therefore denied. Otherwise denied.

      89.    Denied.

      90.    Admit that HB 1205 speaks for itself. Otherwise denied.

      91.    Without knowledge as to LWVFL’s operations and therefore denied.

Otherwise denied.

      92.    Without knowledge as to LWVFL’s operations and therefore denied.

Otherwise denied.

      93.    Denied.

      94.    Admit that HB 1205 speaks for itself. Otherwise denied.

      95.    Without knowledge as to the League’s past actions and therefore denied.

Admit that HB 1205 speaks for itself. Otherwise denied.

      96.    Without knowledge as to the League’s training protocols and therefore

denied. Admit that HB 1205 speaks for itself. Otherwise denied.

      97.    Admit that HB 1205 speaks for itself. Otherwise denied.

      98.    Without knowledge as to the League’s considerations and therefore

denied. Admit that HB 1205 speaks for itself. Otherwise denied.

      99.    Without knowledge as to the League’s operations, procedures, and

considerations and therefore denied. Admit that HB 1205 speaks for itself. Otherwise

denied.

      100. Without knowledge as to the League’s operations, procedures, and

considerations and therefore denied. Admit that HB 1205 speaks for itself. Otherwise
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denied.

      101. Without knowledge as to LWVFL’s past actions and therefore denied.

Otherwise denied.

      102. Without knowledge as to some parts of this allegation and therefore

denied. Otherwise denied.

      103. Denied.

      104. Denied.

   B. LULAC

      105. Without knowledge and therefore denied.

      106. Without knowledge and therefore denied.

      107. Some allegations in this paragraph are legal conclusions to which no

response is required. Without knowledge as to LWVFL’s and its volunteers’ beliefs and

LULAC’s operations and therefore denied.

      108. Without knowledge as to LULAC’s operations and members and

therefore denied. Admit that HB 1205 speaks for itself. Otherwise denied.

      109. Without knowledge as to LULAC’s volunteers’ beliefs and therefore

denied. Otherwise denied.

      110. Denied.

      111. Denied.

      112. Denied.

      C. The Individual Plaintiffs
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        113. Without knowledge as to Intervenor-Plaintiffs Scoon’s and Chandler’s

past actions and therefore denied. Admit that HB 1205 speaks for itself. Otherwise

denied.

        114. Without knowledge as to Intervenor-Plaintiffs Scoon’s and Chandler’s

experiences and beliefs and therefore denied. Admit that HB 1205 speaks for itself.

Otherwise denied.

IV.     THE PROVISIONS OF THE LAW ARE NOT TAILORED TO THE
        LEGISLATURE’S STATED INTENT.

        115. Some allegations in this paragraph are legal conclusions to which no

response is required. Otherwise denied.

        116. Denied.

        117. Denied.

        118. Some allegations in this paragraph are legal conclusions to which no

response is required. Otherwise denied.

        119. Denied.

        120. Denied.

        121. Denied.

        122. Some allegations in this paragraph are legal conclusions to which no

response is required. Otherwise denied.

                              CLAIMS FOR RELIEF

                                    COUNT I
      Burden on Core Political Speech in Violation of the First and Fourteenth
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                         Amendments and 42 U.S.C. § 1983

       123. RPOF repeats, realleges, and incorporates its responses to Intervenor-

Plaintiffs’ allegations incorporated within Count I.

       124. The allegations in this paragraph are legal conclusions to which no

response is required.

       125. Denied.

       126. Admit that the cited case speaks for itself. Other allegations in this

paragraph are legal conclusions to which no response is required.

       127. Denied.

       128. The allegations in this paragraph are legal conclusions to which no

response is required.

       129. RPOF denies that Intervenor-Plaintiffs are entitled to judgment in their

favor or any relief.

                                   COUNT II
   Violation of the Right to Free Association Under the First and Fourteenth
                       Amendments and 42 U.S.C. § 1983

       130. RPOF repeats, realleges, and incorporates its responses to Intervenor-

Plaintiffs' allegations incorporated within Count II.

       131. Admit that the cited case speaks for itself. Other allegations in this

paragraph are legal conclusions to which no response is required.

       132. Admit that the cited case speaks for itself. Other allegations in this

paragraph are legal conclusions to which no response is required.
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       133. Denied.

       134. RPOF denies that Intervenor-Plaintiffs are entitled to judgment in their

favor or any relief.

                                COUNT III
Violation of Due Process Under the Fifth and Fourteenth Amendments and 42
                               U.S.C. § 1983

       135. RPOF repeats, realleges, and incorporates its responses to Intervenor-

Plaintiffs' allegations incorporated within Count III.

       136. Admit that the cited case speaks for itself. Other allegations in this

paragraph are legal conclusions to which no response is required.

       137. Denied.

       138. Denied.

       139. RPOF denies that Intervenor-Plaintiffs are entitled to judgment in their

favor or any relief.

                                 COUNT IV
   Impermissible Chilling Effect on Speech Due to Substantial Overbreadth
     Under the First and Fourteenth Amendments and 42 U.S.C. § 1983

       140. RPOF repeats, realleges, and incorporates its responses to Intervenor-

Plaintiffs’ allegations incorporated within Count IV.

       141. Admit that the cited case speaks for itself. Other allegations in this

paragraph are legal conclusions to which no response is required.

       142. The allegations in this paragraph are legal conclusions to which no

response is required.
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       143. Some allegations in this paragraph are legal conclusions to which no

response is required. Otherwise denied.

       144. RPOF denies that Intervenor-Plaintiffs are entitled to judgment in their

favor or any relief.

                               PRAYER FOR RELIEF

       WHEREFORE, RPOF denies that Intervenor-Plaintiffs are entitled to a

judgment in their favor or any relief:

       1.     RPOF denies that Intervenor-Plaintiffs are entitled to the requested relief:

       2.     RPOF denies that Intervenor-Plaintiffs are entitled to the requested relief;

       3.     RPOF denies that Intervenor-Plaintiffs are entitled to the requested relief;

       and

       4.     RPOF denies that Intervenor-Plaintiffs are entitled to the requested relief.

                            AFFIRMATIVE DEFENSES

       1.     The allegations in the complaint fail to state a claim upon which relief may

be granted.

       2.     By incorporating every prior allegation—including those found within

specific counts—into each of the complaint’s four counts, the complaint is an

impermissible shotgun pleading.




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 Dated: May 27, 2025                           Respectfully submitted,

                                               /s/ Benjamin J. Gibson
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                                               Counsel for Proposed Intervenor-Defendant
                                                 Republican Party of Florida


                         CERTIFICATE OF SERVICE
      I hereby certify that on May 27, 2025, I electronically filed this document with

the Clerk of the Court by using the CM/ECF system, which will serve all parties whose

counsel have entered appearances.

                                               /s/ Benjamin J. Gibson




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